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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :       CASE NO. 21-cr-626-PLF
               v.                              :
                                               :
DEREK COOPER GUNBY,                            :
                                               :
                       Defendant.              :


                    UNITED STATES’ OPPOSITION TO DEFENDANT’S
                           MOTION TO TRANSFER VENUE

       Defendant Derek Cooper Gunby, who is charged in connection with events at the U.S.

Capitol on January 6, 2021, has moved to transfer venue in this case to the District of South

Caroline. Gunby fails to establish that he “cannot obtain a fair and impartial trial” in this district,

Fed. R. Crim. P. 21(a), and this Court should deny his motion.1

                                         BACKGROUND 2

       At 1:00 p.m., on January 6, 2021, a joint session of the United States Congress, consisting

of the House of Representatives and the Senate, convened in the Capitol Building. The Joint




       1
         Every judge on this Court to have ruled on a motion for change of venue in a January 6
prosecution has denied the motion. See United States v. Garcia, No. 21-cr-129, ECF No. 83
(D.D.C. July 22, 2022) (ABJ); United States v. Bledsoe, No. 21-cr-204 (July 15, 2022) (Minute
Order) (BAH); United States v. Williams, No. 21-cr-377 (June 10, 2022) (Minute Entry) (BAH);
United States v. McHugh, No. 21-cr-453 (May 4, 2022) (Minute Entry) (JDB); United States v.
Webster, No. 21-cr-208, ECF No. 78 (D.D.C. Apr. 18, 2022) (APM); United States v. Alford, 21-
cr-263, ECF No. 46 (D.D.C. Apr. 18, 2022) (TSC); United States v. Brooks, No. 21-cr-503, ECF
No. 31 (D.D.C. Jan. 24, 2022) (RCL); United States v. Bochene, No. 21-cr-418-RDM, 2022 WL
123893 (D.D.C. Jan. 12, 2022) (RDM); United States v. Fitzsimons, No. 21-cr-158 (D.D.C. Dec.
14, 2021) (Minute Order) (RC); United States v. Reffitt, No. 21-cr-32 (D.D.C. Oct. 15, 2021)
(Minute Order) (DLF); United States v. Caldwell, 21-cr-28, ECF No. 415 (D.D.C. Sept. 14, 2021)
(APM).
       2
       The facts in this section are taken from the Statement of Facts filed with the Criminal
Complaint. See ECF No. 1-1.


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Session assembled to debate and certify the vote of the Electoral College of the 2020 Presidential

Election. With the Joint Session underway and with Vice President Michael Richard Pence

presiding, a large crowd gathered outside the U.S. Capitol. “The mob [ . . . ] scaled walls, smashed

through barricades, and shattered windows to gain access to the interior of the Capitol,” with the

first rioters entering shortly after 2:00 p.m. Trump v. Thompson, 20 F.4th 10, 10 (D.C. Cir. 2021).

        Shortly thereafter, at approximately 2:20 p.m., members of the House and Senate, including

the President of the Senate, Vice President Pence, were instructed to—and did—evacuate the

chambers. The siege of the Capitol lasted for several hours and represented a violent attack that

forced an interruption of Congress’s certification of the 2020 Electoral College vote count,

threatened the peaceful transfer of power after the 2020 Presidential election, injured more than

one hundred police officers, and resulted in more than 2.7 million dollars in damage and losses.

The siege of the U.S. Capitol on January 6, 2021, was “the most significant assault on the Capitol

since the War of 1812.” Trump, 20 F.4th at 18-19.

        For his part, on January 6, 2021, Gunby posted photographs to his Facebook page showing

himself in Washington, D.C. near the Capitol. He captioned one of his photographs with “Up at

Zero Dark Thirty to stop this steal.” Additional posts on his Facebook page show him at the “Stop

the Steal” rally held on the Ellipse, in front of the Washington Monument, and on the Capitol

Grounds. Open-source video and closed circuit television cameras (CCTV) show Gunby entering

the Capitol through what is known as the Senate Parliamentarian Door. The CCTV video shows

him walking down a hallway, and after a few minutes, he turns around and exits through the same

door.

        Later that day, Gunby posted a video to his Facebook page that shows him riding the Metro

in Washington, D.C. During the video, Gunby stated, in part, the following:




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    So yeah we went, we were in front of the White House earlier this
    morning, and then going into the afternoon, everyone headed down
    to the National Mall towards the Capitol. And we all pretty much
    surrounded the Capitol. We are at a point now in this country where
    they’re going to listen to us. They have to listen to us. Your
    congressional leaders are not afraid of you. They are more afraid of
    the Chinese Communist party. They’re more afraid of left wing
    media. And they are more afraid of ANTIFA and Black Lives
    Matter than they are of the American patriot, the American
    conservative, the American libertarian. The person who is on the
    right side of the Constitution.

                                     ....

    The American patriot in this country has been, we’ve been saints.
    Saints. Because the capability of America, and Americans,
    especially if we were the kind of people that the media always
    portrays us to be, we can take this country back pretty quickly. We
    didn’t bring weapons. Americans that came here for this event did
    not bring weapons. That’s saying a lot considering how late it is in
    this game. How much they have tried to take from us, and we are
    still not taking up arms against our government, against the
    Capitol. So, we surrounded the Capitol today. Eventually tear gas
    started flying. They started shooting tear gas. I got, I’m still, my
    lips are still burning from it.

                                     ....

    They detonated, it was like a flash bang with a, they did a lot of flash
    bangs and things, and people stayed peaceful. I don’t care what the
    media is telling you. The media told you that, that we terrorized
    anybody, that the American patriot, that the Trumps supporters, that
    the people that were here to protest the stealing of the votes, of the
    election in this country.
                                     ....

    Came a little closer to some nightsticks and rubber bullets than we
    wanted to. But, this was ultimately peaceful. I do believe that the
    Metro police here in Washington do understand the stark difference
    between Trump supporters, the patriots, what have you, than say
    ANTIFA, Black Lives Matter. The character is completely
    different. There couldn’t be more of a stark difference in
    justification, and intent, and capability. If the American patriot
    wanted to storm this Capitol, take over this building, and take care
    of all of Congress in there, they could do it. They could do it.




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                                                    ....

                They just tried to steal this election right in front of everybody’s
                face. And any of you, any of you, who are gonna sit there and look
                anybody in the face, and say that that didn’t happen, that this
                election fraud didn’t happen, that we’re making it up, that it’s
                unsubstantiated, you need to wake up.

        Based on his actions on January 6, 2021, Gunby is charged with violating 18 U.S.C. §

1752(a)(1), 18 U.S.C. § 1752(a)(2), 40 U.S.C. §5104(e)(2)(D), and 40 U.S.C. §5104(e)(2)(G).

        Gunby now moves for a change of venue. ECF No. 36. Gunby contends that prejudice

should be presumed in this district for: (1) the characteristics of the D.C. jury pool, (2) the pretrial

publicity surrounding the events of January 6, and (3) evidence of juror partiality. Each of the

defendant’s arguments is without merit, and the motion should be denied.

                                            ARGUMENT

        The Constitution provides that “[t]he trial of all Crimes . . . shall be held in the State where

the said Crimes shall have been committed.” U.S. Const. Art. III, § 2, cl. 3. The Sixth Amendment

similarly guarantees the right to be tried “by an impartial jury of the State and district wherein the

crime shall have been committed.” U.S. Const. amend. VI. These provisions provide “a safeguard

against the unfairness and hardship involved when an accused is prosecuted in a remote place.”

United States v. Cores, 356 U.S. 405, 407 (1958). Transfer to another venue is constitutionally

required only where “extraordinary local prejudice will prevent a fair trial.” Skilling v. United

States, 561 U.S. 358, 378 (2010); see Fed. R. Crim. P. 21(a) (requiring transfer to another district

if “so great a prejudice against the defendant exists in the transferring district that the defendant

cannot obtain a fair and impartial trial there”).

        The primary safeguard of the right to an impartial jury is “an adequate voir dire to identify

unqualified jurors.” Morgan v. Illinois, 504 U.S. 719, 729 (1992) (italics omitted). Thus, the best




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course when faced with a pretrial publicity claim is ordinarily “to proceed to voir dire to ascertain

whether the prospective jurors have, in fact, been influenced by pretrial publicity.” United States

v. Campa, 459 F.3d 1121, 1146 (11th Cir. 2006) (en banc). “[I]f an impartial jury actually cannot

be selected, that fact should become evident at the voir dire.” United States v. Haldeman, 559 F.2d

31, 63 (D.C. Cir. 1976) (en banc) (per curiam). And, after voir dire, “it may be found that, despite

earlier prognostications, removal of the trial is unnecessary.” Jones v. Gasch, 404 F.2d 1231, 1238

(D.C. Cir. 1967).

       I.       The Characteristics of the District of Columbia’s Jury Pool Do Not Support a
                Change of Venue.

       The defendant contends that a D.C. jury cannot be impartial because of various

characteristics of the District’s jury pool: the political makeup of the District’s electorate, the

impact of January 6 on D.C. residents, and the prevalence of federal employees in the District.

Def.’s Mot. Change Venue (“Mot.”) at 6. 3 None of these claims has merit.

             A. The District of Columbia’s political makeup does not support a change of
                venue.

       The defendant contends that he cannot obtain a fair trial in the District of Columbia because

more than 90% of its voters voted for the Democratic Party candidate in the 2020 Presidential

Election. Mot. at 8. The en banc D.C. Circuit rejected a nearly identical claim in Haldeman, where

the dissent concluded that a venue change was required because “Washington, D.C. is unique in

its overwhelming concentration of supporters of the Democratic Party” and the Democratic

candidate received 81.8% and 78.1% of the vote when Nixon ran for President in 1968 and 1972,

respectively. Haldeman, 559 F.2d at 160 (MacKinnon, J., concurring in part and dissenting in




       3
         Defendant’s Motion does not include page numbers, so citations are to the ECF
pagination.


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part). The majority rejected the relevance of this fact, observing that authority cited by the dissent

gave no “intimation that a community’s voting patterns are at all pertinent to venue.” Id. at 64

n.43; see also United States v. Chapin, 515 F.2d 1274, 1286 (D.C. Cir. 1975) (rejecting the

argument that “because of [the defendant’s] connection with the Nixon administration and his

participation in a ‘dirty tricks’ campaign aimed at Democratic candidates and with racial

overtones, a truly fair and impartial jury could not have been drawn from the District’s heavily

black, and overwhelmingly Democratic, population”).

       If “the District of Columbia’s voting record in the past two presidential elections” is not

“at all pertinent to venue” in a case involving high-ranking members of a presidential

administration, Haldeman, 559 F.2d at 64 n.43, it cannot justify a change of venue here. To be

sure, some potential jurors might be unable to be impartial in January 6 cases based on

disagreement with the defendants’ political aims. But whether individual prospective jurors have

such disqualifying biases can be assessed during voir dire. This Court should not presume that

every member of a particular political party is biased simply because this case has a political

connection. Indeed, the Supreme Court has stated in the context of an election-fraud trial, that

“[t]he law assumes that every citizen is equally interested in the enforcement of the statute enacted

to guard the integrity of national elections, and that his political opinions or affiliations will not

stand in the way of an honest discharge of his duty as a juror in cases arising under that statute.”

Connors v. United States, 158 U.S. 408, 414 (1895). The same is true here. The District’s voting

record does not establish that this Court will be unable to select “an unbiased jury capable of basing

its verdict solely on the evidence introduced at trial.” Haldeman, 559 F.2d at 70.

       To the contrary, as the nation’s capital and seat of the federal government, the District has

been home to its fair share of trials in politically charged cases. High-profile individuals strongly




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associated with a particular party, such as Marion Barry, John Poindexter, Oliver North, Scooter

Libby, Roger Stone, and Steve Bannon have all been tried in the District. See United States v.

Barry, 938 F.2d 1327 (D.C. Cir. 1991); United States v. Poindexter, 951 F.2d 369 (D.C. Cir. 1991);

United States v. North, 910 F.2d 843 (D.C. Cir. 1990) (per curiam); United States v. Libby, 498 F.

Supp. 2d 1 (D.D.C. 2007); United States v. Stone, No. 19-cr-0018 (ABJ), 2020 WL 1892360

(D.D.C. Apr. 16, 2020); United States v. Bannon, No. 210-cr-670 (CJN). Indeed, the Court in

Stone rejected the argument that jurors “could not possibly view [Roger Stone] independently from

the President” because of his role in the presidential campaign or that “if you do not like Donald

Trump, you must not like Roger Stone.” 2020 WL 1892360, at *30-31. Similarly here, the fact

that most District residents voted against Donald Trump does not mean those residents could not

impartially consider the evidence against those charged in connection with the events on January

6.

           B. The number of federal employees who reside in the District of Columbia does
              not support a change of venue.

       The defendant argues that the Court should presume prejudice in this District because the

jury pool would contain a high percentage of federal government employees or their friends and

family members. Mot. at 8, 18. But the defendant does not explain how merely being employed

by the federal government would render a person incapable of serving as an impartial juror.

Although some federal employees, such as the U.S. Capitol Police, were affected by the events of

January 6, many others were neither directly nor indirectly affected. Indeed, many federal

employees were nowhere near the Capitol on January 6 given the maximum telework posture at

the time. And the storming of the Capitol on January 6 was not aimed at the federal government

in general, but specifically at Congress’ certification of the electoral vote. There is therefore no

reason to believe that federal employees with little or no connection to the events at the Capitol



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could not be impartial in this case. See United States v. Bochene, No. CR 21-418 (RDM), 2022

WL 123893, at *2 (D.D.C. Jan. 12, 2022) (January 6 defendant’s claim that federal employees

would “have a vested interest in supporting their employer” was “exactly the kind of conjecture

that is insufficient to warrant transfer prior to jury selection”).

        Even assuming (incorrectly) that every federal employee is affected by improper bias, the

Court could draw a jury from those District residents who are not employed by the federal

government. According to the Office of Personnel Management, around 141,000 non-Postal

Service employees worked in Washington, D.C., in 2017. OPM, Federal Civilian Employment,

available at https://www.opm.gov/policy-data-oversight/data-analysis-documentation/federal-

employment-reports/reports-publications/federal-civilian-employment/.             But many federal

employees who work in the District live outside the District and would not be part of the jury pool.

And the District has nearly 700,000 residents. Thus, even if every federal employee were

disqualified, the Court would be able to pick a jury in this District.

        II.     The Pretrial Publicity Related to January 6 Does Not Support a Presumption
                of Prejudice in This District.

        The defendant contends that a change of venue is warranted based on pretrial publicity.

Mot. at 9-12. “The mere existence of intense pretrial publicity is not enough to make a trial unfair,

nor is the fact that potential jurors have been exposed to this publicity.” United States v. Childress,

58 F.3d 693, 706 (D.C. Cir. 1995); see Murphy v. Florida, 421 U.S. 794, 799 (1975) (juror

exposure to “news accounts of the crime with which [a defendant] is charged” does not “alone

presumptively deprive[] the defendant of due process”). Indeed, “every case of public interest is

almost, as a matter of necessity, brought to the attention of all the intelligent people in the vicinity,

and scarcely any one can be found among those best fitted for jurors who has not read or heard of

it, and who has not some impression or some opinion in respect to its merits.” Reynolds v. United



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States, 98 U.S. 145, 155-56 (1878). Thus, the “mere existence of any preconceived notion as to

the guilt or innocence of an accused, without more,” is insufficient to establish prejudice. Irvin,

366 U.S. at 723. “It is sufficient if the juror can lay aside his impression or opinion and render a

verdict based on the evidence presented in court.” Id.

       The Supreme Court has recognized only a narrow category of cases in which prejudice is

presumed to exist without regard to prospective jurors’ answers during voir dire. See Rideau v.

Louisiana, 373 U.S. 723 (1963). In Rideau, the defendant’s confession—obtained while he was

in jail and without an attorney present—was broadcast three times shortly before trial on a local

television station to audiences ranging from 24,000 to 53,000 individuals in a parish of

approximately 150,000 people. Id. at 724 (majority opinion), 728-29 (Clark, J., dissenting). The

Court concluded that, “to the tens of thousands of people who saw and heard it,” the televised

confession “in a very real sense was Rideau’s trial—at which he pleaded guilty to murder.”

Rideau, 373 U.S. at 726. Thus, the Court “d[id] not hesitate to hold, without pausing to examine

a particularized transcript of the voir dire,” that these “kangaroo court proceedings” violated due

process. Id. at 726-27.

       Since Rideau, the Supreme Court has emphasized that a “presumption of prejudice . . .

attends only the extreme case,” Skilling, 561 U.S. at 381, and the Court has repeatedly “held in

other cases that trials have been fair in spite of widespread publicity,” Nebraska Press Ass’n v.

Stuart, 427 U.S. 539, 554 (1976). In the half century since Rideau, the Supreme Court has never

presumed prejudice based on pretrial publicity. But see Estes v. Texas, 381 U.S. 532 (1965)

(presuming prejudice based on media interference with courtroom proceedings); Sheppard v.

Maxwell, 384 U.S. 333 (1966) (same). In fact, courts have declined to transfer venue in some of

the most high-profile prosecutions in recent American history. See In re Tsarnaev, 780 F.3d 14,




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15 (1st Cir. 2015) (per curiam) (capital prosecution of Boston Marathon bomber); Skilling, 561

U.S. at 399 (fraud trial of CEO of Enron Corporation); United States v. Yousef, 327 F.3d 56, 155

(2d Cir. 2003) (trial of participant in 1993 World Trade Center bombing); United States v.

Moussaoui, 43 F. App’x 612, 613 (4th Cir. 2002) (per curiam) (unpublished) (terrorism

prosecution for conspirator in September 11, 2001 attacks); Haldeman, 559 F.2d at 70 (Watergate

prosecution of former Attorney General John Mitchell and other Nixon aides).

       In Skilling, the Supreme Court considered several factors in determining that prejudice

should not be presumed where former Enron executive Jeffrey Skilling was tried in Houston,

where Enron was based. Skilling, 561 U.S. at 382-83. First, the Court considered the “size and

characteristics of the community.” Id. at 382. Unlike Rideau, where the murder “was committed

in a parish of only 150,000 residents,” Houston was home to more than 4.5 million people eligible

for jury service. Id. at 382. Second, “although news stories about Skilling were not kind, they

contained no confession or other blatantly prejudicial information of the type readers or viewers

could not reasonably be expected to shut from sight.” Id. Third, “over four years elapsed between

Enron’s bankruptcy and Skilling’s trial,” and “the decibel level of media attention diminished

somewhat in the years following Enron’s collapse.” Id. at 383. “Finally, and of prime significance,

Skilling’s jury acquitted him of nine insider-trading counts,” which undermined any “supposition

of juror bias.” Id.

       Although these Skilling factors are not exhaustive, courts have found them useful when

considering claims of presumptive prejudice based on pretrial publicity. See, e.g., In re Tsarnaev,

780 F.3d at 21-22; United States v. Petters, 663 F.3d 375, 385 (8th Cir. 2011). And contrary to

the defendant’s contention, those factors do not support a presumption of prejudice in this case.




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           A. Nature of the District of Columbia

       The defendant suggests that an impartial jury cannot be found in Washington, D.C., despite

the District’s population of nearly 700,000. Mot. at 9-11. Although this District may be smaller

than most other federal judicial districts, it has a larger population than two states (Wyoming and

Vermont), and more than four times as many people as the parish in Rideau. The relevant question

is not whether the District of Columbia is as populous as the Southern District of Texas in Skilling,

but whether it is large enough that an impartial jury can be found. In Mu’Min v. Virginia, 500 U.S.

415, 429 (1991), the Court cited a county population of 182,537 as supporting the view than an

impartial jury could be selected. And Skilling approvingly cited a state case in which there was “a

reduced likelihood of prejudice” because the “venire was drawn from a pool of over 600,000

individuals.” Skilling, 561 U.S. at 382 (quoting Gentile v. State Bar of Nev., 501 U.S. 1030, 1044

(1991)). There is simply no reason to believe that, out of an eligible jury pool of nearly half a

million, 12 impartial individuals could not be empaneled.” Id.

       Additionally, the defendant contends that a D.C. jury could not be impartial because D.C.

residents have been particularly affected by events surrounding January 6, including the

deployment of the National Guard, the mayor’s declaration of a state of emergency, road closures,

and a curfew. Mot. at 10-11. But January 6 is now more than a year in the past. Many D.C.

residents do not live or work near the Capitol where the roads were closed and the National Guard

was deployed. There is no reason to believe that the District’s entire population of nearly 700,000

people was so affected by these events that the Court cannot seat an impartial jury here.

       Indeed, courts routinely conclude that defendants can receive a fair trial in the location

where they committed their crimes, despite the fact that some members of the community were

victimized. See In re Tsarnaev, 780 F.3d 14, 15 (1st Cir. 2015) (Boston Marathon bombing);




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Skilling, 561 U.S. at 399 (Enron collapse); Yousef, 327 F.3d at 155 (1993 World Trade Center

bombing); Moussaoui, 43 F. App’x at 613(September 11, 2001 attacks, including on the

Pentagon). In Skilling, the Supreme Court rejected the contention that Enron’s “sheer number of

victims” in the Houston area “trigger[ed] a presumption of prejudice.” Skilling, 561 U.S. at 384

(quotation omitted).     “Although the widespread community impact necessitated careful

identification and inspection of prospective jurors’ connections to Enron,” the voir dire was “well

suited to that task.” Id. In this case too, voir dire can adequately identify those D.C. residents who

were so affected by January 6 that they cannot impartially serve as jurors. There is no reason to

presume prejudice.

           B. Nature of the pretrial publicity

       Nor does this case involve an inadmissible “confession or other blatantly prejudicial

information of the type readers or viewers could not reasonably be expected to shut from sight.”

Skilling, 561 U.S. at 382. Even news stories that are “not kind,” Skilling, 561 U.S. at 382, or are

“hostile in tone and accusatory in content,” Haldeman, 559 F.2d at 61, do not alone raise a

presumption of prejudice. As in Skilling and Haldeman, the news coverage of Gunby is “neither

as inherently prejudicial nor as unforgettable as the spectacle of Rideau’s dramatically staged and

broadcast confession.” Id. Indeed, Gunby does not cite to a single news article that specifically

discusses his role in January 6.

       The defendant asserts that a fair trial cannot be had in D.C. because of the volume of news

coverage of January 6. Mot. at 9. But even “massive” news coverage of a crime does not require

prejudice to be presumed. Haldeman, 559 F.2d at 61. Unlike most cases involving pretrial

publicity, where the news coverage focuses on the responsibility of a single defendant (as in Rideau

or Tsarnaev) or small number of co-defendants (as in Skilling and Haldeman), the events of




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January 6 involved thousands of participants and have so far resulted in charges against more than

800 people. The Court can guard against any spillover prejudice from the broader coverage of

January 6 by conducting a careful voir dire and properly instructing the jury about the need to

determine a defendant’s individual guilt.

       And, in any event, any threat of such spillover prejudice is not limited to Washington, D.C.

because much of the news coverage of January 6 has been national in scope. See Haldeman, 559

F.2d at 64 n.43 (observing that “a change of venue would have been of only doubtful value” where

much of the news coverage was “national in [its] reach” and the crime was of national interest);

United States v. Bochene, No. 21-cr-418-RDM, 2022 WL 123893, at *3 (D.D.C. Jan. 12, 2022)

(“The fact that there has been ongoing media coverage of the breach of the Capitol and subsequent

prosecutions, both locally and nationally, means that the influence of that coverage would be

present wherever the trial is held.” (internal quotation marks omitted)).

           C. Passage of time before trial

       In Skilling, the Court considered the fact that “over four years elapsed between Enron’s

bankruptcy and Skilling’s trial.” Skilling, 561 U.S. at 383. In this case, 20 months have already

elapsed since the events of January 6, and more time will elapse before trial. This is far more than

in Rideau, where the defendant’s trial came two months after his televised confession. Rideau,

373 U.S. at 724. Although January 6 continues to be in the news, the “decibel level of media

attention [has] diminished somewhat,” Skilling, 561 U.S. at 383.

           D. The jury verdict

       Because Gunby has not yet gone to trial, the final Skilling factor—whether the “jury’s

verdict . . . undermine[s] in any way the supposition of juror bias,” Skilling, 561 U.S. at 383—does

not directly apply. But the fact that Skilling considered this factor to be “of prime significance,”




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id., underscores how unusual it is to presume prejudice before trial. Ordinarily, a case should

proceed to trial in the district where the crime was committed, and courts can examine after trial

whether the record supports a finding of actual or presumed prejudice. In short, none of the Skilling

factors supports the defendant’s contention that the Court should presume prejudice and order a

transfer of venue without even conducting voir dire.

       III.    Voir Dire Is the Appropriate Means of Selecting an Impartial Jury.

       The defendant contends that voir dire is ineffective at addressing pretrial publicity. Mot.

at 14. The defendant cites a 30-year-old study, conducted with mock juries, which concluded that

“[t]he net effect of careful voir dire concerning pretrial publicity . . . was nil” and that “the bias

created by the publicity survived voir dire unscathed.” Kerr, N L, et al., On the Effectiveness of

Voir dire in Criminal Cases With Prejudicial Pretrial Publicity: An Empirical Study, 40 Am. Univ.

L. Rev. 665, 697 (1991). The study also found that the prejudicial effect of “emotional publicity”

(as opposed to factual publicity) “was not attenuated at all” where there was a short delay between

the exposure to publicity and the trial. Id. at 675; see id. at 672.

       This study does not support the defendant’s claim that a careful voir dire cannot ensure an

impartial jury in this case. The Supreme Court and the D.C. Circuit have long made clear that a

careful voir dire is the appropriate way to address prejudicial pretrial publicity, except in those

extreme cases where prejudice is presumed. See Skilling, 561 U.S. at 381-82. The Supreme Court

observed in Skilling that voir dire was “well suited to th[e] task” of probing the crime’s

“widespread community impact.” Id. at 384. And the Court has said that “[i]t is fair to assume

that the method we have relied on since the beginning”—i.e. voir dire—“usually identifies bias.”

Patton v. Yount, 467 U.S. 1025, 1038 (1984) (citing United States v. Burr, 25 F. Cas. 49, 51

(C.C.D. Va. 1807) (Marshall, C.J.)). Similarly, the D.C. Circuit has said that “voir dire has long




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been recognized as an effective method of routing out [publicity-based] bias, especially when

conducted in a careful and thoroughgoing manner.” In re Nat’l Broadcasting Co., 653 F.2d 609,

617 (D.C. Cir. 1981); see Haldeman, 559 F.2d at 63 (“[I]f an impartial jury actually cannot be

selected, that fact should become evident at the voir dire.”).

        The study that the defendant cites cannot overcome this clear precedent. Only one federal

case has cited that study in its 30-year lifespan, and it did so when denying a motion for change of

venue. United States v. Houlihan, 926 F. Supp. 14, 17, n.4 (D. Mass. 1996). And the study itself

acknowledged that it was “certainly possible that, under other experimental or field conditions,

voir dire would have been more effective in eliminating publicity-induced bias.” Id. at 699. The

study does not support the defendant’s claim that voir dire is ineffective to protect the right to an

impartial trial.

        Nor does the study support the defendant’s claim that the effects of “emotional publicity”

cannot be cured through the passage of time or continuances. Mot. at 16. If the defendant were

correct, then a defendant could never be tried where, as here, exposure to “emotional publicity” is

both pervasive and nationwide. But the study does not support this extreme view. The study

purported to measure the effect of “a continuance” on prejudice arising from emotional publicity.

Kerr, et al., 40 Am. Univ. L. Rev. at 672. But to do so, it exposed mock jurors to prejudicial

publicity “several days (on average, 12 days) before the trial began.” Id. This 12-day period is far

too short to conclude that continuances are not effective. And, in any event, the Supreme Court

has clearly indicated that the passage of time can reduce the prejudicial effect of pretrial publicity.

See Skilling, 561 U.S. at 383 (“[U]nlike cases in which trial swiftly followed a reported crime,

over four years elapsed between Enron’s bankruptcy and Skilling’s trial.”); Patton, 467 U.S. at

1034 (“That time soothes and erases is a perfectly natural phenomenon, familiar to all.”). The




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study does not support a conclusion that prejudice arising from exposure to “emotional publicity”

cannot dissipate with time.

       IV.     The January 6-Related Jury Trials That Have Already Occurred Have
               Demonstrated the Availability of a Significant Number of Fair, Impartial
               Jurors in the D.C. Venire.

       At this point, multiple January 6 cases have proceeded to jury trials, and the Court in each

of those cases has been able to select a jury without undue expenditure of time or effort. See

Murphy, 421 U.S. at 802-03 (“The length to which the trial court must go to select jurors who

appear to be impartial is another factor relevant in evaluating those jurors’ assurances of

impartiality.”); Haldeman, 559 F.2d at 63 (observing that “if an impartial jury actually cannot be

selected, that fact should become evident at the voir dire”). Instead, the judges presiding over

those trials were able to select a jury in one or two days. See United States v. Reffitt, 21-cr-32,

Minute Entries (Feb. 28 and Mar. 1, 2022); United States v. Robertson, 21-cr-34, Minute Entry

(Apr. 5, 2022); United States v. Thompson, 21-cr-161, Minute Entry (Apr. 11, 2022); United States

v. Webster, No. 21-cr-208, Minute Entry (Apr. 25, 2022); United States v. Hale-Cusanelli, 21-cr-

37, Minute Entry (May 23, 2022); United States v. Williams, 21-cr-377, Minute Entry (June 27,

2022); United States v. Bledsoe, No. 21-cr-204, Minute Entry (July 18, 2022). And, using the first

five jury trials as exemplars, the voir dire that took place undermines the defendant’s claim that

prejudice should be presumed. 4

       In Reffitt, the Court individually examined 56 prospective jurors and qualified 38 of them

(about 68% of those examined). See Reffitt Trial Tr. 521. The Court asked all the prospective

jurors whether they had “an opinion about Mr. Reffitt’s guilt or innocence in this case” and whether



       4
          Because they remain restricted on PACER, the transcripts from the voir dire proceedings
in these cases are being submitted under separate cover to the Court and counsel.



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they had any “strong feelings or opinions” about the events of January 6 or any political beliefs

that it would make it difficult to be a “fair and impartial” juror. Reffitt Trial Tr. 23, 30. The Court

then followed up during individual voir dire. Of the 18 jurors that were struck for cause, only nine

(or 16% of the 56 people examined) indicated that they had such strong feelings about the events

of January 6 that they could not serve as fair or impartial jurors. 5

           In Thompson, the Court individually examined 34 prospective jurors, and qualified 25 of

them (or 73%). See Thompson 4-11-22 Tr. 169, 171, 180, 189, 192. The court asked the entire

venire 47 standard questions, and then followed up on their affirmative answers during individual

voir dire. Id. at 3-4, 34. Of the nine prospective jurors struck for cause, only three (or about 9%

of those examined) were stricken based on an inability to be impartial, as opposed to some other

cause. 6

           Similarly, in Robertson, the Court individually examined 49 prospective jurors and

qualified 34 of them (or about 69% of those examined). See Robertson Trial Tr. 302. The Court

asked all prospective jurors whether they had “such strong feelings” about the events of January 6

that it would be “difficult” to follow the court’s instructions “and render a fair and impartial

verdict.” Id. at 14. It asked whether anything about the allegations in that case would prevent



           5
         For those struck based on a professed inability to be impartial, see Reffitt Trial Tr. 49-54
(Juror 328), 61-68 (Juror 1541), 112-29 (Juror 1046), 172-73 (Juror 443), 174-78 (Juror 45), 202-
09 (Juror 1747), 223-35 (Juror 432), 263-74 (Juror 514), 358-69 (Juror 1484). For those struck
for other reasons, see Reffitt Trial Tr. 168-172 (Juror 313, worked at Library of Congress), 209-
24, 281 (Juror 728, moved out of D.C.), 284 (Juror 1650, over 70 and declined to serve), 340-51
(Juror 548, unavailability), 382 (Juror 715, anxiety and views on guns), 398 (Juror 548, medical
appointments), 441-43 (Juror 1240, health hardship), 453-65 (Juror 464, worked at Library of
Congress), 465-81 (Juror 1054, prior knowledge of facts).
           6
         For the three stricken for bias, see Thompson 4-11-22 Tr. 52 (Juror 1242), 85 (Juror 328),
158 (Juror 999). For the six stricken for hardship or inability to focus, see id. at 43 (Juror 1513),
44 (Juror 1267), 49 (Juror 503), 40 (Juror 1290), 92 (Juror 229), 109 (Juror 1266).



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prospective jurors from “being neutral and fair” and whether their political views would affect

their ability to be “fair and impartial.” Id. at 13, 15. The Court followed up on affirmative answers

to those questions during individual voir dire. Of the 15 prospective jurors struck for cause, only

nine (or 18% of the 49 people examined) indicated that they had such strong feelings about the

January 6 events that they could not be fair or impartial. 7

       In Webster, the Court individually examined 53 jurors and qualified 35 of them (or 66%).

Webster 4-26-22 AM Tr. 6, though it later excused one of those 35 based on hardship, Webster 4-

25-22 PM Tr. 217-18. The Court asked all prospective jurors whether they had “strong feelings”

about the events of January 6 or about the former President that would “make it difficult for [the

prospective juror] to serve as a fair and impartial juror in this case.” Webster 4-25-22 AM Tr. 19.

During individual voir dire, the Court followed up on affirmative answers to clarify whether

prospective jurors could set aside their feelings and decide the case fairly. See, e.g., id. at 32-33,

41-42, 54-56, 63, 65-66. Only 10 out of 53 prospective jurors (or about 19%) were stricken based

on a professed or imputed inability to be impartial, as opposed to some other reason. 8 The Webster




       7
          For those struck based on a professed inability to be impartial, see Robertson Trial Tr.
26-34 (Juror 1431), 97-100 (Juror 1567), 121-30 (Juror 936), 136-42 (Juror 799), 160-71 (Juror
696), 189-93 (Juror 429), 256-65 (Juror 1010), 265-68 (Juror 585), 287-92 (Juror 1160). For those
struck for other reasons, see Robertson Trial Tr. 23-26 (Juror 1566, hardship related to care for
elderly sisters), 83-84 (Juror 1027, moved out of D.C.), 156-60 (Juror 1122, language concerns),
193-96 (Juror 505, work hardship), 245-50 (Juror 474, work trip); 279-82 (Juror 846, preplanned
trip).
       8
         Nine of the 19 stricken jurors were excused based on hardship or a religious belief. See
Webster 4-25-22 AM Tr. 46 (Juror 1464), 49-50 (Juror 1132), 61 (Juror 1153), 68 (Juror 951), 78
(Juror 419); Webster 4-25-22 PM Tr. 102-04, 207, 217 (Juror 571), 188 (Juror 1114), 191 (Juror
176), 203-04 (Juror 1262). Of the ten other stricken jurors, three professed an ability to be
impartial but were nevertheless stricken based on a connection to the events or to the U.S.
Attorney’s Office. See Webster 4-25-22 AM Tr. at 58-60 (Juror 689 was a deputy chief of staff
for a member of congress); Webster 4-25-22 PM Tr. at 139-41 (Juror 625’s former mother-in-law
was a member of congress); 196-98 (Juror 780 was a former Assistant U.S. Attorney in D.C.).


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Court observed that this number “was actually relatively low” and therefore “doesn’t bear out the

concerns that were at root in the venue transfer motion” in that case. Webster, 4-26-22 AM Tr. 7.

       In Hale-Cusanelli, the Court individually examined 47 prospective jurors and qualified 32

of them (or 68%). Hale-Cusanelli Trial Tr. 226, 231. The Court asked prospective jurors questions

similar to those asked in the other trials. See id. at 72-74 (Questions 16, 20). Of the 15 prospective

jurors struck for cause, 11 (or 23% of those examined) were stricken based on a connection to the

events of January 6 or a professed inability to be impartial. 9

       In these first five jury trials, the percentage of prospective jurors stricken for cause based

on partiality is far lower than in Irvin, where the Supreme Court said that “statement[s] of

impartiality” by some prospective jurors could be given “little weight” based on the number of

other prospective jurors who “admitted prejudice.” Irvin, 366 U.S. at 728. In Irvin, 268 of 430

prospective jurors (or 62%) were stricken for cause based on “fixed opinions as to the guilt of

petitioner.” Id. at 727. The percentage of partiality-based strikes in these first five January 6-

related jury trials—between 9% and 23% of those examined—is far lower than the 62% in Irvin.

The percentage in these cases is lower even than in Murphy, where 20 of 78 prospective jurors

(25%) were “excused because they indicated an opinion as to petitioner’s guilt.” Murphy, 421

U.S. at 803. Murphy said that this percentage “by no means suggests a community with sentiment

so poisoned against petitioner as to impeach the indifference of jurors who displayed no animus

of their own.” Id. As in Murphy, the number of prospective jurors indicating bias does not call

into question the qualifications of others whose statements of impartiality the Court has credited.




       9
         See Hale-Cusanelli Trial Tr. 62 (Juror 499), 67-68 (Juror 872), 84-85 (Juror 206), 92-93
(Juror 653), 124-25 (Juror 1129), 152 (Juror 182), 156 (Juror 176), 182 (Juror 890), 197-98 (Juror
870), 217 (Juror 1111), 224 (Juror 1412). For the four jurors excused for hardship, see id. at 77-
79 (Juror 1524), 99 (Juror 1094), 132 (Juror 1014), 151 (Juror 899).


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       Far from showing that “an impartial jury actually cannot be selected,” Haldeman, 559 F.2d

at 63, the first five January 6-related jury trials have confirmed that voir dire can adequately screen

out prospective jurors who cannot be fair and impartial, while leaving more than sufficient

qualified jurors to hear the case. The Court should deny the defendant’s request for a venue

transfer and should instead rely on a thorough voir dire to protect the defendant’s right to an

impartial jury.

                                          CONCLUSION

       For the foregoing reasons, the Government respectfully requests that Gunby’s Motion to

Transfer Venue be denied.

                                               Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       On this 28th day of October 2022, a copy of the foregoing was served upon all parties listed
on the Electronic Case Filing (ECF) System.

                                                     /s/ Kyle M. McWaters
                                                     Kyle M. McWaters
                                                     Assistant United States Attorney




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